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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

IN RE:                                              Case No. 6:18-bk-05179-CCJ
                                                    Chapter 7
BASSAM R. ALKOWNI and HASEENA
KHAN,

            Debtors.
______________________________________/

                             BANK OF AMERICA, N.A.’S
                    MOTION FOR RELIEF FROM AUTOMATIC STAY
                      [Property Surrendered in Statement of Intent]


             NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 21 days
from the date set forth on the attached proof of service, plus an additional three days for
service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of
the Court at 400 W. Washington Street, Suite 5100, Orlando, FL 32801, and serve a copy
on the movant’s attorney, Wanda D. Murray, at Aldridge | Pite LLP, Fifteen Piedmont
Center, 3575 Piedmont Road, N.E., Suite 500, Atlanta, GA 30305 and any other
appropriate persons within the time allowed. If you file and serve a response within the
time permitted, the Court will either schedule and notify you of a hearing, or consider the
response and grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.

         Bank of America, N.A. (“Movant”) hereby moves this Court, pursuant to 11 U.S.C. §362,
for relief from the automatic stay with respect to certain real property of the Debtors having an
address of 10436 Sparkle Court, Orlando, Florida 32836 (the “Property”). In further support of
this Motion, Movant respectfully states:
      1.        A petition under Chapter 7 of the United States Bankruptcy Code was filed with
respect to the Debtors on August 24, 2018.
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       2.       A final judgment of foreclosure has been entered with respect to the Property in
favor of Movant. A true and correct copy of the final judgment is attached hereto as Exhibit A.
       3.       As of July 12, 2018, the total outstanding amount under the final judgment was
$256,803.48.
       4.       In addition to the other amounts due to Movant reflected in this Motion, as of the
date hereof, in connection with seeking the relief requested in this Motion, Movant has also
incurred $931.00 in legal fees and costs. Movant reserves all rights to seek an award or
allowance of such fees and expenses in accordance with applicable loan documents and related
agreements, the Bankruptcy Code and otherwise applicable law.
       5.       The estimated market value of the Property is $314,685.00. The basis for such
valuation is the Orange County Property Appraiser. A copy of the Orange County Property
Appraiser is attached hereto as Exhibit B.
       6.       Upon information and belief, the aggregate amount of encumbrances on the
Property listed in the Schedules or otherwise known, including but not limited to the
encumbrances granted to Movant, is $896,328.93.
       7.       Cause exists for relief from the automatic stay for the following reasons:
            (a) Movant’s interest in the Property is not adequately protected. Movant’s interest in
the collateral is not protected by an adequate equity cushion. The fair market value of the
Property is declining and payments are not being made to Movant sufficient to protect Movant’s
interest against that decline.
            (b) Pursuant to 11 U.S.C. §362(d)(2)(A), Debtors have no equity in the Property; and
pursuant to 11 U.S.C. §362(d)(2)(B), the Property is not necessary for an effective
reorganization.
        WHEREFORE, Movant prays that this Court issue an Order terminating or modifying
the stay and granting the following:
       1.       Relief from the stay allowing Movant (and any successors and/or assigns) to
proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon and
obtain possession of the Property.
       2.       That the Order be binding and effective despite any conversion of this bankruptcy
case to a case under any other chapter of Title 11 of the United States Code.
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      3.     That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.
      4.     For such other relief as the Court deems proper.
Dated: October 18, 2018                           Respectfully Submitted:




                                                  Wanda D. Murray
                                                  Bar No.: 566381
                                                  Aldridge Pite, LLP
                                                  Attorney for Secured Creditor
                                                  Fifteen Piedmont Center
                                                  3575 Piedmont Road, N.E., Suite 500
                                                  Atlanta, GA 30305
                                                  Phone: (404) 994-7400
                                                  Fax: (619) 590-1385
                                                  Email: WMurray@aldridgepite.com
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion for Relief
from the Automatic Stay was served electronically or via U.S. Mail, first-class postage prepaid,
to:
DEBTORS ATTORNEY
(via electronic notice)
J Craig Bourne
craigbournelaw@yahoo.com

DEBTORS
Bassam R. Alkowni
Haseena Khan
10436 Sparkle Ct
Orlando, FL 32836

TRUSTEE
(via electronic notice)
Arvind Mahendru
amtrustee@gmail.com

UNITED STATES TRUSTEE
(via electronic notice)

United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801
USTP.Region21.OR.ECF@usdoj.gov

Dated: October 18, 2018

                                                   /s/ Wanda D. Murray
                                                   Wanda D. Murray
                                                   Bar No.: 566381
                                                   Aldridge Pite, LLP
                                                   Attorney for Secured Creditor
                                                   Fifteen Piedmont Center
                                                   3575 Piedmont Road, N.E., Suite 500
                                                   Atlanta, GA 30305
                                                   Phone: (404) 994-7400
                                                   Fax: (619) 590-1385
                                                   Email: WMurray@aldridgepite.com
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                               IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
                                       IN AND FOR ORANGE COUNTY, FLORIDA
                                                  CIVIL DIVISION

        BANK    OF AMERICA, N.A.                                   CASE NO. 2017-CA-009523-O

                 Plaintiff,

        vs.                                                        Division
                                                                          No.

        HASEENA KHAN; BASSAM ALKOWNI;
        DIAMOND COVE HOMEOWNERS
        ASSOCIATION, INC.;ADMINISTRATOR    OF
        THE SMALL BUSINESS ADMINISTRATION, AN
        AGENCY OF THE GOVERNMENT    OF THE
        UNITED STATES OF AMERICA; UNITED
        STATES OF AMERICA, DEPARTMENT    OF THE
        TREASURY; UNKNOWN    TENANT #1 n/k/a
        AREJ ALKOWNI; AND UNKNOWN     TENANT #2
        n/k/aAMANI ALKOWNI;

                 Defendants/

                                          FINAL JUDGMENT      OF FORECLOSURE

                 THIS ACTION      was heardbeforetheCourt7/12/2018.
                                                                  On theevidence
                                                                               presented

                 IT IS ADJUDGED         The Plaintiff's
                                    that:           MotionforSummary JudgmentisGRANTED.          Service
                                                                                                       ofprocess
         hasbeendulyandregularly
                              obtained
                                     overHASEENA           KHAN;    BASSAM    ALKOWNI;   DIAMOND    COVE
         HOMEOWNERS      ASSOCIATION, INC.;ADMINISTRATOR              OF THE SMALL BUSINESS
         ADMINISTRATION,       AN AGENCY    OF THE GOVERNMENT         OF THE UNITED STATES OF AMERICA;
         UNITED STATES OF AMERICA, DEPARTMENT              OF THE TREASURY; UNKNOWN       TENANT    #1 n/k/a
         AREJ ALKOWNI;       andUNKNOWN      TENANT   #2 n/k/aAMANI    ALKOWNI;   ,defendants.
        1.       Amounts Due and Owing.             BANK
                                             Plaintiff,     OF AMERICA, N.A.,16001DALLAS NORTH
        PARKWAY     MAIL STOP TXO8-044-03-06,
                                            ADDISON, TX 75001isdue:


                      dueon thenotesecured
               Principal                 by themortgage                                                $154,952.32
               foreclosed:

               AccruedInterest
                            from 10/01/12
                                        to03/08/18                                                     $46,326.44

               Additional
                        Interest
                              from03/09/18
                                         to07/12/18                                                     $2,918.75
                     PerDiem at$23.35
               Interest

               LateCharges                                                                                 $123.60

               Tax Disbursements                                                                        $27,371.71

               HazardInsurance
                             Disbursement                                                               $10,659.69




                                                                                              EXHIBIT A
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                  Fees
         Attorneys'

             Uncontested
                       Fee:$4,050.00                                                               $4,587.50
                     Fee:2.50hoursX $215.00= $537.50
             Contested


         Court Costs,Now Taxed:

                  Fee
             Filing                                                                                $1,010.00

             Service
                   ofProcess                                                                        $590.00

             Mediation                                                                              $100.00

             RecordingFee - LisPendens                                                               $11.50

             Subtotal                                                                          $248,651.51

         Additional
                  Costs

             Property
                    Inspections/Preservation                                                        $920.00

             Other-PaymentAdvance                                                                 $15,392.59

            Title
                Fee                                                                                  $62.00
         Subtotal                                                                                 $16,374.59

             EscrowBalance                                                                        - $8,222.62

         TotalDue                                                                              $256,803.48

         Thatshall
                 bearinterest
                           ata rateof5.72% peryear.


        2.     Lien on Property.         Plaintiff
                                                holdsalien forthe totalsum superior
                                                                                  to allclaimsor estates
                                                                                                       of
                  on thefollowing
        defendant(s),           described      inOrangeCounty,Florida:
                                        property
                LOT 22, DIAMOND   COVE          UNIT 1 A, ACCORDING    TO THE PLAT THEREOF     AS
                RECORDED  IN PLAT BOOK          32, PAGE 9 THROUGH  13,OF THE PUBLIC RECORDS   OF
                ORANGE                                   COUNTY,                         FLORIDA.


                PropertyAddress:10436SparkleCourt,Orlando,Florida32836

        3.      Saleof Property. Ifthetotal
                                          sum withinterest
                                                        attheratedescribed
                                                                         inparagraph
                                                                                   I and allcostsaccrued

        subsequentto thisjudgment are not paid,the Clerkof thiscourtshallsellthe propertyat publicsaleon
              ,4             ,       7          at I1:00AM, tothe highest
                                                                        bidderforcash,exceptas prescribed
                                                                                                        in

        paragraph4, at the courthouse
                                    locatedat 425 N Orange Avenue, in Orange County in Orlando,Florida,
                                                                                                      in
                 withSection
        accordance               Florida
                           45.031,     Statutes    usingthefollowing
                                             (2013),              method:


         By electronic
                    salebeginningat11:00AM on theprescribed
                                                          dateatwww.orange.realforeclose.com,
                                                                                         the
        Clerk'swebsiteforonlineauctions




                                                                                         EXHIBIT A
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        4.      Costs. Plaintiff
                              shall
                                  advanceallsubsequent
                                                     costsofthis
                                                               action
                                                                    and shall
                                                                            be reimbursed
                                                                                        forthem by the
         Clerkifplaintiff
                       isnotthepurchaser
                                       oftheproperty
                                                   forsale,       however,thatthepurchaser
                                                          provided,                      oftheproperty
         forsaleshallbe responsible
                                 forthe documentarystampspayableon thecertificate     If plaintiff
                                                                              of title.         isthe
                theClerkshall
        purchaser,          credit       bidwiththetotal
                                 plaintiffs            sum withinterest
                                                                     and costsaccruing        tothis
                                                                                     subsequent
                orsuchpartofitasisnecessary
        judgment,                         topay thebidinfull.
        5.      Distribution
                          ofProceeds. On filing
                                             theCertificate
                                                        ofTitle
                                                              theClerkshall
                                                                          distribute
                                                                                 theproceeds
                                                                                           ofthe
             so farastheyaresufficient,
         sale,                                    alloftheplaintiffs
                                    by paying:first,              costs;     documentarystampsaffixed
                                                                       second,                      to
        theCertificate;
                    third,
                         plaintiffs      fees;fourth,
                                 attorney's                sum due totheplaintiff,
                                                    thetotal                   lesstheitemspaid,plus
              attherateprescribed
        interest               inParagraph1 from thisdatetothedateofthesale;
                                                                           and by retaining
                                                                                         any remaining
        amount pendingthefurther
                              orderofthis
                                        court.
        6.      RightofPossession. On filing
                                          oftheCertificate
                                                       of Sale,         and allpersonsclaiming
                                                              defendant(s)                   underor

        against         sincethefiling
              defendant(s)           of theNoticeof LisPendensshallbe foreclosed
                                                                              of allestate
                                                                                         or claiminthe
               and defendant's
        property            rightof redemptionas prescribed
                                                         by section
                                                                  45.0315,Florida
                                                                                Statutes
                                                                                       (2013)shall
                                                                                                 be

                 exceptastoclaimsorrights
        terminated,                     underChapter718 or Chapter720,Florida      ifany. Upon thefiling
                                                                            Statutes,
        oftheCertificate
                     ofTitle,
                           thepersonnamed on thecertificate
                                                        oftitle
                                                             shall
                                                                 be letintopossession
                                                                                   oftheproperty.
        7.              Fees.
               Attorneys'         The Courtfinds,
                                                basedupon theaffidavits/testimony   and upon inquiry
                                                                            presented              of
        counselforthePlaintiff
                            thatinasmuchas thiscasewas contested,
                                                               feesincurred
                                                                          include
                                                                                $537.50which represents
        2.50hoursat$215.00an hour,plusan uncontested
                                                  flat
                                                     feeof $4,050.00
                                                                   fora total
                                                                            sum of $4,587.50
                                                                                           infavorofthe
        Gilbert
              GarciaGroup,P.A.intheprosecution
                                            of thislawsuit
                                                         isappropriate.
                                                                     Plaintiffs
                                                                             counselrepresents
                                                                                            thatthe
                feesawardeddoes not exceeditscontract
        attorneys'                                  feewiththePlaintiff.
                                                                     The courtfindsthatthereis/are
                                                                                                 no
        reduction
                orenhancementfactors
                                   forconsideration
                                                by thecourtpursuant
                                                                  toFloridaPatients          Fund v.
                                                                                  Compensation
        Rowe, 472 So.2d 1145 (Fla.
                                 1985).
        8.     The Plaintiff       thejudgment,causeofaction
                          may assign                       and credit
                                                                    bidto any third
                                                                                  partyby thefiling
                                                                                                  of an

        Assignmentwithout    orderofthecourt.
                        further
        9.     ThattheUnitedStates
                                 ofAmericaasa lienholder
                                                      shall
                                                          havetheright
                                                                     toexercise
                                                                              itsRightof Redemption
               toTitle
        pursuant     28,UnitedStates
                                   Code,Section
                                              2410 (c),
                                                      within120 daysfromthedateofsale.The UnitedStates
        shall
            notbe bound by thesixtyday timeperiodimposedby ( 45.032,Fla.Stat.
                                                                            upon motionsfordistribution
                                                                                                    of

              proceeds.
        surplus
         10.   Jurisdiction.
                          Jurisdiction
                                   ofthisaction
                                              isretained
                                                      toenter
                                                            further    asareproper,
                                                                 orders,                  without
                                                                                  including,
                writsof possession
        limitation,              and deficiency
                                             judgments.In addition,
                                                                 thiscourtretains        to enterany
                                                                                jurisdiction
        required
               supplemental         suchas a reforeclosure
                          complaint(s)                  to add a necessary
                                                                         and/oromittedpartywithoutthe
               offiling
        necessity    a separate
                              action.


          IF THIS PROPERTY IS SOLD AT PUBLIC AUCTION, THERE MAY BE ADDITIONAL     MONEY
          FROM THE SALE AFTER PAYMENT   OF PERSONS WHO ARE ENTITLED TO BE PAID FROM THE
          SALE PROCEEDS PURSUANT  TO THIS FINAL JUDGMENT.

          IF YOU ARE A SUBORDINATE          LIENHOLDER    CLAIMING A RIGHT TO FUNDS REMAINING
          AFTER THE SALE, YOU MUST        FILE A CLAIM   WITH THE CLERK NO LATER THAN SIXTY (60)




                                                                                       EXHIBIT A
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          DAYS AFTER THE SALE. IF YOU       FAIL TO FILE A CLAIM, YOU      WILL   NOT   BE ENTITLED     TO
          ANY REMAINING FUNDS.

          IF YOU ARE THE PROPERTY    OWNER, YOU MAY CLAIM THESE FUNDS YOURSELF.     YOU ARE
          NOT REQUIRED    TO HAVE A LAWYER  OR ANY OTHER REPRESENTATION     AND YOU DO NOT
          HAVE TO ASSIGN YOUR RIGHTS TO ANYONE       ELSE IN ORDER   FOR YOU TO CLAIM ANY
          MONEY   TO WHICH YOU ARE ENTITLED. PLEASE CONTACT     THE CLERK OF THE COURT, 425
          N ORANGE   AVENUE, ORLANDO, FL (TELEPHONE: (407)836-2000)
                                                                  WITHIN TEN (10)DAYS AFTER
          THE SALE TO SEE IF THERE IS ADDITIONAL  MONEY  FROM THE FORECLOSURE     SALE THAT
          THE CLERK HAS IN THE REGISTRY OF THE COURT.

         IF YOU DECIDE TO SELL YOUR       HOME    OR HIRE SOMEONE       TO HELP YOU CLAIM THE
         ADDITIONAL    MONEY,   YOU  SHOULD    READ   VERY   CAREFULLY      ALL PAPERS YOU ARE
         REQUIRED    TO SIGN, ASK SOMEONE      ELSE,  PREFERABLY     AN   ATTORNEY     WHO    IS NOT
         RELATED    TO THE PERSON     OFFERING     TO HELP YOU, TO MAKE          SURE THAT       YOU
         UNDERSTAND    WHAT   YOU ARE SIGNING AND THAT YOU ARE NOT TRANSFERRING                 YOUR
         PROPERTY   OR THE EQUITY IN YOUR PROPERTY       WITHOUT   THE PROPER INFORMATION.          IF
         YOU CANNOT    AFFORD   TO PAY AN ATTORNEY,      YOU MAY CONTACT       COMMUNITY      LEGAL
         SERVICES OF MID FLORIDA, INC.,122 EAST COLONIAL DRIVE, SUITE 200,ORLANDO, FL, (407)
         841-7777TO SEE IF YOU QUALIFY FINANCIALLY       FOR THEIR SERVICES. IF THEY CANNOT
         ASSIST YOU, THEY MAY BE ABLE TO REFER YOU TO A LOCAL BAR REFERRAL               AGENCY    OR
         SUGGEST OTHER OPTIONS. IF YOU CHOOSE         TO CONTACT    COMMUNITY      LEGAL SERVICES
         OF MID FLORIDA, INC.,122 EAST COLONIAL      DRIVE, SUITE 200,ORLANDO,      FL, (407)841-7777,
         FOR ASSISTANCE, YOU SHOULD      DO SO AS SOON AS POSSIBLE AFTER RECEIPT OF THIS
         NOTICE.

                DONE AND ORDERED     atOrangeCounty,Florida 's         d                 ,2018.

                                                       HONO                        E
                                                       CIRCUIT COURT JUDGE
                                                                                         pp

         Copiesfurnished:
         GILBERT GARCIA GROUP, P.A.
         2313W. VIOLET ST.
         TAMPA, FL 33603
         EMAILSERVICE@GILBERTGROUPLAW.COM

         ADMINISTRATOR    OF THE SMALL BUSINESS ADMINSTRATION, AN AGENCY           OF THE
         GOVERNMENT    OF THE UNITED STATES OF AMERICA
         C/O SABRINA C. DALY, ESQ.
         US SMALL BUSINESS ADMINISTRATION    -409 3RD STREET, SW 7TH FLOOR
         WASHINGTON, DC 20416

         UNKNOWN   TENANT #1 N/K/A AREJ ALKOWNI
         10436SPARKLE COURT
         ORLANDO, FL 32836

          UNKNOWN   TENANT #2 N/K/A AMANI    ALKOWNI
          10436SPARKLE COURT
          ORLANDO, FL 32836

          COLLEEN MURPHY    DAVIS, ESQ. FOR UNITED STATES OF AMERICA, DEPARTMENT            OF THE
          TREASURY
          400 NORTH TAMPA   STREET, SUITE 3200
          TAMPA, FL 33602
          USAFLM.HUD@USDOJ.GOV;MICHALENE.Y.ROWELLS@HUD.GOV




                                                                                         EXHIBIT A
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         DAVID S.COHEN FOR HASEENA KHAN
         5728 MAJOR BOULEVARD, SUITE 550
         ORLANDO, FL 32819
         DAVID@DSCOHENLAW.COM;    ADMIN@DSCOHENLAW.COM

         DAVID S.COHEN FOR BASSAM ALKOWNI
         5728MAJOR BOULEVARD, SUITE 550
         ORLANDO, FL 32819
         DAVID@DSCOHENLAW.COM;   ADMIN@DSCOHENLAW.COM

         SARAH ELIZABETH WEBNER      FOR DIAMOND    COVE HOMEOWNERS      ASSOCIATION, INC.
         860N. ORANGE AVENUE
         STE. 135
         ORLANDO, FL 32801
         SARAH@KWPALAW.COM




                                                                                      EXHIBIT A
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                                                                     Sparkle Ct
                                                                          10/18/18        Page 10 of 14



  Property Record - 10-24-28-                                                       Orange County Property Appraiser •
                                                                                                   http://www.ocpafl.org
  2031-00-220
  Property Summary as of 10/09/2018
     Property Name
     10436 Sparkle Ct
                                                Mailing Address
     Names
                                                10436 Sparkle Ct
     Alkowni Bassam
                                                Orlando, FL 32836-6000
     Khan Haseena
                                                Physical Address
     Municipality
                                                10436 Sparkle Ct
     ORG - Un-Incorporated
                                                Orlando, FL 32836
     Property Use
     0103 - Single Fam Class III




  Value and Taxes
  Historical Value and Tax Benefits

  Tax Year
                                   Land            Building(s)           Feature(s)       Market Value        Assessed Value
  Values
  2018                           $76,000       +     $217,685        +     $21,000 = $314,685 (1.7%) $269,519 (2.1%)
  2017                           $76,000       +     $212,057        +     $21,500 = $309,557 (1.9%) $263,976 (2.1%)
  2016                           $76,000       +     $205,761        +     $22,000 = $303,761 (5.3%) $258,547 (.70%)
  2015                           $76,000       +     $189,938        +     $22,500 = $288,438 (13%) $256,750 (.80%)
  2014                           $75,000       +     $163,612        +     $16,100 = $254,712                $254,712



                                                                                                         Exhibit B
http://www.ocpafl.org/Searches/ParcelInfoPrinterFriendly.aspx/PFSettings/AA1AB1AD0AE0BA1BB1BC1BD0BE0CA1CD1CB1CC1CE1DA1DB1EA1E…   1/5
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                                                     Sparkle Ct
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                              Original                          Other
  Tax Year Benefits                    Additional Hx                      SOH Cap                                 Tax Savings
                           Homestead                     Exemptions
  2018                        $25,000        $25,000               $0       $45,166                                      $1,383
  2017                        $25,000        $25,000               $0       $45,581                                      $1,403
  2016                        $25,000        $25,000               $0       $45,214                                      $1,423
  2015                        $25,000        $25,000               $0       $31,688                                      $1,218
  2014                        $25,000        $25,000               $0             $0                                       $674

  2018 Taxable Value and Estimate of Proposed Taxes

  Taxing Authority                                Assd Value Exemption Tax Value Millage Rate                 Taxes     %
  Public Schools: By State Law (Rle)              $269,519 $25,000     $244,519 4.0510 (-4.05%)               $990.55 26 %
  Public Schools: By Local Board                  $269,519 $25,000     $244,519 3.2480 (0.00%)                $794.20 21 %
  Orange County (General)                         $269,519 $50,000     $219,519 4.4347 (0.00%)                $973.50 26 %
  Unincorporated County Fire                      $269,519 $50,000     $219,519 2.2437 (0.00%)                $492.53 13 %
  Unincorporated Taxing District                  $269,519 $50,000     $219,519 1.8043 (0.00%)                $396.08 10 %
  Library - Operating Budget                      $269,519 $50,000     $219,519 0.3748 (0.00%)                $82.28    2%
  South Florida Water Management District         $269,519 $50,000     $219,519 0.1209 (-5.18%)               $26.54    1%
  South Florida Wmd Okeechobee Basin              $269,519 $50,000     $219,519 0.1310 (-5.35%)               $28.76    1%
  South Florida Wmd Everglades Const              $269,519 $50,000     $219,519 0.0417 (-5.44%)               $9.15     0%
                                                                                 16.4501                      $3,793.59

  2018 Non-Ad Valorem Assessments

  Levying Authority                  Assessment Description                                       Units Rate Assessment
  COUNTY SPECIAL                     WASTE PRO - GARBAGE - (407)836-6601                          1.00 $230.00 $230.00
  ASSESSMENT
  COUNTY SPECIAL                     STREET LIGHTS - STREET LIGHTS - (407)836-                    1.00 $81.22 $81.22
  ASSESSMENT                         5770
  COUNTY SPECIAL                     STREET LIGHTS - STREET LIGHTS - (407)836-                    1.00 $15.00 $15.00
  ASSESSMENT                         5770
  COUNTY SPECIAL                     STORMWATER MGMT - RETENTION PONDS -                          1.00 $78.00 $78.00
  ASSESSMENT                         (407)836-7990
                                                                                                                   $404.22

  Property Features
  Property Description
  DIAMOND COVE UNIT 1A 32/9 LOT 22

  Total Land Area

  10,740 sqft (+/-)                  |          0.25 acres (+/-)                   GIS Calculated

  Land

                                                                                                         Exhibit B
http://www.ocpafl.org/Searches/ParcelInfoPrinterFriendly.aspx/PFSettings/AA1AB1AD0AE0BA1BB1BC1BD0BE0CA1CD1CB1CC1CE1DA1DB1EA1E…   2/5
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                                                      Sparkle Ct
                                                           10/18/18  Page 12 of 14
  Land Use Code         Zoning Land Units Unit Price Land Value Class Unit Price                                Class Value
  0100 - Single Family  R-1     1 LOT(S)  $76,000.00 $76,000        $0.00                                       $76,000

  Buildings

   Model Code                 01 - Single Fam Residence           Subarea Description                 Sqft     Value
   Type Code                  0103 - Single Fam Class III         BAS - Base Area                     2192     $222,335
   Building Value             $217,685                            FGR - Fin Garage                    609      $30,936
   Estimated New Cost         $259,458                            FOP - F/Opn Prch                    243      $6,187
   Actual Year Built          1994
   Beds                       3
   Baths                      3.0
   Floors                     1
   Gross Area                 3044 sqft
   Living Area                2192 sqft
   Exterior Wall              Cb.Stucco
   Interior Wall              Drywall


  Extra Features

  Description                                    Date Built          Units           Unit Price          XFOB Value
  FPL2 - Average Fireplace                       01/01/1994          1 Unit(s)       $2,500.00           $2,500
  PL2 - Above Average Pool                       01/01/1994          1 Unit(s)       $25,000.00          $13,500
  SCR2 - Scrn Enc 2                              01/01/1994          1 Unit(s)       $5,000.00           $5,000

  Sales
  Sales History

             Sale     Instrument
  Sale Date                       Book/Page Deed Code                                Seller(s)         Buyer(s)      Vac/Imp
             Amount #
  01/31/2002 $260,000 20020071752 06453 / 6576 Warranty Deed                         Mills John K Alkowni     Improved
                                                                                     Donaldson Paul Bassam
                                                                                     T              Khan
                                                                                                    Haseena
  03/21/1994 $169,000 19944826830 04721 / 3323 Warranty Deed                         Engle Homes Mills John Improved
                                                                                     Orlando Inc    K
                                                                                                    Donaldson
                                                                                                    Paul T

  Similar Sales




                                                                                                         Exhibit B
http://www.ocpafl.org/Searches/ParcelInfoPrinterFriendly.aspx/PFSettings/AA1AB1AD0AE0BA1BB1BC1BD0BE0CA1CD1CB1CC1CE1DA1DB1EA1E…   3/5
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                                                                     Sparkle Ct
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                                   Sale                                                          Instrument
  Address               Sale Date                          $/SQFT Deed Code           Beds/Baths             Book/Page
                                   Amount                                                        #
  8300 Diamond Cove     08/22/2018 $355,000                $150      Warranty         3/2        20180508370 /
  Cir                                                                Deed
  8366 Diamond Cove     07/25/2018 $340,000                $147      Warranty         3/3           20180443166 /
  Cir                                                                Deed
  10442 Sparkle Ct      06/18/2018 $359,000                $164      Warranty         3/2           20180371231 /
                                                                     Deed
  10406 Sparkle Ct            06/15/2018 $480,000          $198      Warranty         4/2           20180360126 /
                                                                     Deed
  10443 Sparkle Ct            03/26/2018 $355,000          $162      Warranty         3/2           20180206222 /
                                                                     Deed
  8341 Diamond Cove           02/20/2018 $318,900          $143      Warranty         3/2           20180113624 /
  Cir                                                                Deed

  Services for Location
  TPP Accounts At Location

  Account      Market Value        Taxable Value                   Business Name(s)               Business Address
  There are no TPP Accounts associated with this parcel.

  Schools

  Southwest (Middle School)
   Principal                              Raymond Yockel
   Office Phone                           407-370-7200
   Grades                                 2016: B | 2015: A | 2014: A
  Dr Phillips (High School)
   Principal                              Suzanne Michelle Knight
   Office Phone                           407-355-3200
   Grades                                 2016: B | 2015: A | 2014: A
  Sand Lake (Elementary)
   Principal                               Laura M Suprenard
   Office Phone                            407-903-7400
   Grades                                  2016: B | 2015: A | 2014: B

  Community/Neighborhood Association

  Name                       Diamond Cove Homeowners Association, Inc.
  Gated?                     No
  Number Of
                             235
  Households

  Utilities/Services
                                                                                                         Exhibit B
http://www.ocpafl.org/Searches/ParcelInfoPrinterFriendly.aspx/PFSettings/AA1AB1AD0AE0BA1BB1BC1BD0BE0CA1CD1CB1CC1CE1DA1DB1EA1E…   4/5
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                                                    Sparkle Ct
                                                         10/18/18                         Page 14 of 14
  Electric                     Duke Energy
  Water                        Orange County
  Recycling (Wednesday)        Orange County
  Trash (Wednesday)            Orange County
  Yard Waste (Thursday)        Orange County

  Elected Officials

  State Senate                        Victor M. Torres, Jr.
  US Representative                   Val Demings
  School Board Representative         Pam Gould
  State Representative                Eric Eisnaugle
  County Commissioner                 Betsy VanderLey
  Orange County Property
                                      Rick Singh
  Appraiser

  Nearby Amenities (1 mile radius)

  Restaurants                 1

  Market Stats
  Sales Within Last 1 Year

  Diamond Cove Ut 1A

                Sales Within Last 6 Months                Sales Between 6 Months To One Year
                Count Median       Average     Volume     Count Median       Average     Volume
  Single Family        $357,000 $383,500                         $336,950 $336,950
                4                              $1,534,000 2                              $673,900
  Residential          ($157/SqFt) ($165/SqFt)                   ($153/SqFt) ($153/SqFt)

  Diamond Cove (All Phases)

                Sales Within Last 6 Months                Sales Between 6 Months To One Year
                Count Median       Average     Volume     Count Median       Average     Volume
  Single Family        $385,000 $365,698                         $360,000 $358,322
                13                             $4,754,080 9                              $3,224,900
  Residential          ($164/SqFt) ($153/SqFt)                   ($149/SqFt) ($145/SqFt)




                                                                                                         Exhibit B
http://www.ocpafl.org/Searches/ParcelInfoPrinterFriendly.aspx/PFSettings/AA1AB1AD0AE0BA1BB1BC1BD0BE0CA1CD1CB1CC1CE1DA1DB1EA1E…   5/5
